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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

NICHOLAS MARTIN on behalf of himself and             )
others similarly situated,                           ) 1:12-cv-5485
     Plaintiff,                                      )
                                                     )
            v.                                       )
                                                     )
TAXWORKS, INC. and H&R BLOCK, INC.                   )
    Defendant.                                       ) JURY DEMANDED
                                                     )

                                             COMPLAINT

                                             CLASS ACTION

       1.        Plaintiff   Nicholas    Martin    brings   this   action   against   TaxWorks,     Inc.

(“TaxTAXWORKSWorks”) and H&R Block, Inc. (“H&R Block”) to secure redress for violation of

the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”) arising out of improper and

unsolicited autodialed and prerecorded telemarketing calls to plaintiff’s cellular telephone.

                                        JURISDICTION AND VENUE

       2.        The Court has federal question jurisdiction over these TCPA claims. Venue is

proper because a substantial portion of the events complained of occurred in this District.

                                                  PARTIES

       3.        Plaintiff is an individual who resides in this District. Plaintiff’s cellular telephone

number is 630-xxx-3271. This number is on the FTC do not call list.

       4.        H&R Block, Inc. is one of the largest tax preparation companies in the United

States. Its headquarters are in Kansas City, Missouri. It does business in this District. TaxWorks,

Inc. is owned and operated by H&R Block, Inc.


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                                               FACTS

        5.     The TCPA prohibits the use of “automatic telephone dialing systems” to call

cellular telephones.

        6.     “Automatic telephone dialing system” means any equipment that has the

“capacity to dial numbers without human intervention.” Griffith v. Consumer Portfolio Serv.,

Inc., 2011 WL 3609012 (N.D.Ill. Aug. 16, 2011) (emphasis original).

        7.     Defendants used (a) an automatic telephone dialing system and (b) an artificial

or prerecorded voice, to call plaintiff and the class.

        8.     On or about May 31, 2012 at 12:55 pm central standard time, plaintiff received a

telephone call on his cell phone from caller ID 801-529-9117. Upon information and belief,

defendant or someone on its behalf made this call.

        9.     Defendant initiated the call with a prerecorded message that stated that the call

was being made on behalf of TaxWorks professional software.

        10.     The prerecorded message then invited plaintiff to attend an unspecified

seminar.

        11.    Plaintiff pressed “1” to speak with a representative, and was connected with a

male representative, who began the conversation by saying, “Tax Works Sales.”

        12.    When plaintiff inquired, the representative stated that TaxWorks had placed the

call.

        13.    The call to plaintiff was completely unsolicited. Plaintiff has never given his

cellular telephone number to H&R Block or TaxWorks as to the subject matter of this call.

        14.    Plaintiff and the class have been substantially damaged by defendants’ calls.

Their privacy was improperly invaded, they were charged for the calls and they were annoyed.

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Mims v. Arrow Financial Services, Inc., 132 S.Ct. 740 (Jan. 18, 2012) (discussing congressional

findings of consumer “outrage” as to autodialed and prerecorded telemarketing); Soppet v.

Enhanced Recovery Co., LLC, 679 F.3d 637 (7th Cir. 2012) (stating that unwanted cell phone

robocall recipients are damaged because they are charged “out of pocket” cellular airtime

minutes).

                                     COUNT I – TCPA

       15.     Plaintiff incorporates all previous paragraphs of this complaint.

       16.     It is a violation of the TCPA, 47 U.S.C. §227(b) to call a person's cellular telephone

using an automatic telephone dialing system, and it is also a violation of that section to call a

person’s cellular telephone using an artificial or prerecorded voice.

       17.     Defendant called plaintiff and the class using both an automatic telephone

dialing system and an artificial or prerecorded voice

       18.     Plaintiff and the class are entitled to have their rights, status and legal relations

under the TCPA relating to defendant's calling of cell phones using an automatic dialing system.

       19.     The defendant's calls were negligent, or alternatively, they were willful or

knowing. 47 U.S.C. §312(f)(1).

                                           Class Allegations

       20.     Plaintiff brings Count I on behalf of a class, which consists of:

       All persons nationwide who defendant or some person on its behalf called on their cell
       phone using a device that has the capacity to dial numbers without human intervention
       and/or an artificial or prerecorded voice, where defendant obtained the phone number
       from some source other than directly from the called party as to the subject matter of
       the call, where any call was made at any time after July 12, 2008.




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       21.      Common questions of law and fact exist as to all members of the class and

predominate over any questions solely affecting any individual member of the class, including

plaintiff. Such questions common to the Class include, but are not limited to:

                a.     Whether defendant used an automatic telephone dialing system as that

                term is defined in the TCPA and applicable FCC regulations and orders; and

                b.     Damages, including whether the violation was willful or knowing.

       22.      Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

no interests that might conflict with the interests of the class. Plaintiff is interested in pursuing

his claims vigorously, and has retained counsel competent and experienced in class and

complex litigation.

       23.      Class action treatment is superior to the alternatives for the fair and efficient

adjudication of the controversy alleged herein. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would entail.

       24.      No difficulties are likely to be encountered in the management of this class

action that would preclude its maintenance as a class action, and no superior alternative exists

for the fair and efficient adjudication of this controversy.

       25.      Defendant has acted on grounds generally applicable to the class, thereby

making relief appropriate with respect to the class as a whole. Prosecution of separate actions

by individual members of the class, should they realize their rights have been violated, would

likely create the risk of inconsistent or varying adjudications with respect to individual members

of the class that would establish incompatible standards of conduct.

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       26.     The identity of the class is likely readily identifiable from defendant's records.

       27.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable.

       WHEREFORE, plaintiff requests that the Court enter judgment in favor of himself and

the class and against defendant that provides the following relief:

               a.     Statutory damages of $500 per violation, and up to $1,500 per violation if

               proven to be willful or knowing;

               b.     A permanent injunction prohibiting defendant from violating the TCPA in

               the future through calling cellular phones using an automatic telephone dialing

               system and/or a prerecorded voice message;

               c.     A declaration that defendant used an automatic telephone dialing system

               and artificial or prerecorded voice, and violated the TCPA in calling plaintiff and

               the class; and

               d.     Any other relief the Court finds just and proper.


                                                      Respectfully submitted,

                                                      /s/ Alexander H. Burke
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                                          JURY DEMAND



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               Plaintiff demands trial by jury.

                                                      /s/Alexander H. Burke
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                             DOCUMENT PRESERVATION DEMAND

        Plaintiff hereby demands that the defendant take affirmative steps to preserve all
recordings, data, emails, recordings, phone records, dialer records, documents and all other
tangible things that relate to the allegations herein, plaintiff or the putative class members, or
the making of telephone calls, the events described herein, any third party associated with any
telephone call, campaign, account, sale or file associated with plaintiff or the putative class
members, and any account or number or symbol relating to any of them. These materials are
very likely relevant to the litigation of this claim. If defendant is aware of any third party that
has possession, custody or control of any such materials, plaintiff demands that defendant
request that such third party also take steps to preserve the materials. This demand shall not
narrow the scope of any independent document preservation duties of the defendant.

                                                      /s/Alexander H. Burke




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